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 1    GATES, GONTER, GUY, PROUDFOOT & MUENCH, LLP
      MATTHEW M. PROUDFOOT, SBN 155988
 2    MARCIA M. LACOUR, SBN 159282
      38 Discovery, Suite 200
 3    Irvine, California 92618
      Telephone: (949) 753-0255
 4    Facsimile: (949) 753-0265
 5
      Attorney for Defendant FORD MOTOR COMPANY and FUTURE FORD OF CONCORD,
 6    LLC
 7

 8

 9                           UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10

11
      JUSTIN FREDERICKSEN, an        )        Docket:
12    individual and DOES 1-100      )
      inclusive                      )
13                                   )
                    Plaintiff,       )        NOTICE OF REMOVAL
14    vs.                            )        UNDER 28 U.S.C. § 1332()(1), 1441,
                                     )        1446
15    FORD MOTOR COMPANY, a Delaware )
      Limited Liability Company,     )
16    FUTURE FORD OF CONCORD, LLC, a )
      California Limited Liability   )
17    Company and DOES 1-100,        )
      inclusive,                     )
18                                   )
                     Defendants.     )
19                                   )
20

21          TO THE CLERK OF THE ABOVE-ENTITLED COURT:
22          PLEASE TAKE NOTICE that Defendant Ford Motor Company by its
23    counsel Gates, Gonter, Guy, Proudfoot & Muench, LLP, hereby remove to
24    this Court, pursuant to 28 U.S.C. §§ 1332(a)(1), 1441, and 1446,
25    based on complete diversity of citizenship, the claims pending as
26    Case No. 19STCV05028 of the Superior Court of California, County of
27    Los Angeles, Central District.
28

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      ___________________________________________________________________________________
                                   NOTICE OF REMOVAL
                        UNDER 28 U.S.C. § 1332(a)(1), 1441, 1446
     Case 2:19-cv-02186-R-JPR Document 1 Filed 03/22/19 Page 2 of 7 Page ID #:2

 1

 2    I.    THE REMOVED CASE
 3          1.      The removed case is a civil action commenced in the
 4    Superior Court of California, County of Los Angeles by Plaintiff
 5    JUSTIN FREDERICKSEN (hereinafter “FREDERICKSEN” and or “Plaintiff”)
 6    entitled JUSTIN FREDERICKSEN v. Ford Motor Company, et al., Case No.
 7    19STCV05028 (hereinafter “State Action”). Although the Complaint
 8    alleges (§ 1) that Plaintiff is a resident of Los Angeles County, it

 9    is the position of Ford Motor Company that Plaintiff engaged in fraud

10    in the pleading of jurisdictional facts in that all documents in

11    possession of Ford Motor Company indicate Plaintiff is a citizen of

12    Nevada or of Georgia. Declaration of Marcia M. LaCour, Exhibit 2.

13          2.      The first named Defendant is Ford Motor Company, a

14    Delaware Corporation with its principal place of business in

15    Michigan. The other named Defendant is Future Ford of Concord, LLC, a

16    California Limited Liability Corporation with its principal place of

17    business in Concord, California in Contra Costa County.

18          3.      Plaintiff filed the State Action on February 14, 2019,

19    asserting violations under the Song Beverly Warranty Act (hereinafter

20    “Song Beverly”, negligent repair and misrepresentation against

21    Defendants     based on alleged defects in Plaintiff’s 2016 Ford F-150

22    (hereinafter “Subject Vehicle”).        See Complaint attached as part of

23    Exhibit 1 filed herewith with the Declaration of Marcia M. LaCour.

24    Ford Motor Company was served with the State Action on February 20,

25    2019.      See CT Corporation service of process transmittal attached to

26    Complaint.

27    II.   PROCEDURAL REQUIREMENTS

28          4.      Ford Motor Company has thirty (30) days from the date of

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      ___________________________________________________________________________________
                                    NOTICE OF REMOVAL
                         UNDER 28 U.S.C. § 1332(a)(1), 1441, 1446
     Case 2:19-cv-02186-R-JPR Document 1 Filed 03/22/19 Page 3 of 7 Page ID #:3

 1    service or receipt of a copy of the Complaint to remove a case. 28
 2    U.S.C. § 1446(b). Ford Motor Company was served with a copy of the
 3    Complaint on February 20, 2019. This Notice of Removal is therefore
 4    timely filed.
 5           5.    Pursuant to 28 U.S.C. § 1446(a), copies of all process,
 6    pleadings, and orders for the State Action in Ford Motor Company’s
 7    possession are contained in Exhibit 1 filed herewith filed herewith

 8    with    the Declaration of Marcia M. LaCour.

 9           6.    Pursuant to 28 U.S.C. § 1446(a), venue is proper in the

10    Central District of California because this District embraces the

11    place in which the removed action has been pending.

12           7.    Pursuant to 28 U.S.C. § 1446(d), a true and correct copy

13    of this Notice of Removal will be filed with the Superior Court of

14    California, County of Los Angeles promptly after filing of same in

15    this Court.

16           8.    Pursuant to 28 U.S.C. § 1446(d), written notice of filing

17    of this Notice of Removal will be given to all adverse parties

18    promptly after the filing of same in this Court.

19           9.    If any question arises as to the propriety of the removal

20    of this action, Ford Motor Company requests the opportunity to

21    conduct discovery, present summary-judgment type evidence, brief any

22    disputed issues, and present oral argument in favor of its position

23    that this case is properly removable.

24           10.   Nothing in this Notice of Removal shall be interpreted as

25    a waiver or relinquishment of Ford Motor Company’s right to assert

26    defenses including, without limitation, the defenses of (i) lack of

27    personal jurisdiction, (ii) improper venue and/or forum non

28    conveniens, (iii) insufficiency of process, (iv) insufficiency of

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      ___________________________________________________________________________________
                                   NOTICE OF REMOVAL
                        UNDER 28 U.S.C. § 1332(a)(1), 1441, 1446
     Case 2:19-cv-02186-R-JPR Document 1 Filed 03/22/19 Page 4 of 7 Page ID #:4

 1    service of process, (v) improper joinder of claims and/or parties,
 2    (vi) failure to state a claim, (vii) failure to join indispensable
 3    party(ies), (viii) fraudulent pleading of jurisdictional facts, or
 4    (ix) any other procedural or substantive defense available under
 5    state or federal law.
 6    III. THE AMOUNT IN CONTROVERSY REQUIREMENT IS MET
 7          11.    The amount in controversy in this action exceeds $75,000

 8    See 28 U.S.C. § 1332.
 9          12.    The removing party’s initial burden is to “file a notice

10    of removal that includes ‘a plausible allegation that the amount in

11    controversy exceeds the jurisdictional threshold.’” Ibarra v. Manheim

12    Invs., Inc., 775 F.3d 1193, 1195 (9th Cir. 2015) (quoting Dart

13    Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 554

14    (2014)). “By design, § 1446(a) tracks the general pleading

15    requirement stated in Rule 8(a),” which requires only that the

16    grounds for removal be stated in a “short and plain statement.” Dart,

17    135 S. Ct. at 553.

18          13.   Generally, a federal district court will first “consider

19    whether it is ‘facially apparent’ from the complaint that the

20    jurisdictional amount is in controversy.” Abrego v. Dow Chem. Co.,

21    443 F.3d 676, 690 (9th Cir. 2006) (internal citation omitted). In

22    this case the Complaint (§§ 25-26) alleges Plaintiff is entitled to

23    the amount of $270,000 and additionally attorney fees in the amount

24    of $605 an hour.

25          14.    The amount in controversy well exceeds $75,000, without

26    considering Plaintiff’s request for attorney fees.

27
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                                   NOTICE OF REMOVAL
                        UNDER 28 U.S.C. § 1332(a)(1), 1441, 1446
     Case 2:19-cv-02186-R-JPR Document 1 Filed 03/22/19 Page 5 of 7 Page ID #:5

 1    IV.   DIVERSITY OF CITIZENSHIP EXISTS
 2
            15.   Plaintiff alleges he is a resident of Los Angeles County,
 3
      California. (Complaint ¶ 1).However all documents in possession of
 4
      Ford Motor Company including the sales contract for the subject
 5
      vehicle, financial records in regard to the subject vehicle and the
 6
      address Plaintiff provided when he contacted Ford Motor Company
 7
      indicate he is a citizen of Nevada or Georgia. Declaration of Marcia
 8
      M. LaCour ____.
 9
            24.   Ford Motor Company is and was at the time Plaintiff
10
      commenced this action a corporation under the laws of the State of
11
      Delaware with its principal place of business in Michigan.             This
12
      Court can take judicial notice of these facts.           See Fed. R. Evid. 201
13
      (b)(2) (courts may judicially notice facts that “can be accurately
14
      and readily determined from sources whose accuracy cannot reasonably
15
      be questioned”).
16
            25.   The amount in controversy in this action exceeds $75,000
17
      See 28 U.S.C. § 1332.
18
            26.   Accordingly, this Court has subject matter jurisdiction
19
      over this dispute under 28 U.S.C. § 1332(a)(1) because there is
20
      complete diversity of citizenship between Plaintiff, a citizen of
21
      Nevada or Georgia, Ford Motor Company, a citizen of Michigan and
22
      Delaware but not of California, and Future Ford of Concord, LLC a
23
      citizen of California.
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      ___________________________________________________________________________________
                                   NOTICE OF REMOVAL
                        UNDER 28 U.S.C. § 1332(a)(1), 1441, 1446
     Case 2:19-cv-02186-R-JPR Document 1 Filed 03/22/19 Page 6 of 7 Page ID #:6

 1    VI.   CONCLUSION
 2          For the reasons stated above, the State Action may be removed to
 3    this Court by Ford in accordance with the provisions of 28 U.S.C. §§
 4    1332(a)(1), 1441, and 1446.
 5

 6    Dated:    March 22, 2019            GATES, GONTER, GUY,
                                          PROUDFOOT & MUENCH, LLP
 7

 8                                        By: ___________________________________
                                               MARCIA M. LACOUR
 9                                             MATTHEW M. PROUDFOOT
                                          Attorneys for Defendant FORD MOTOR
10                                        COMPANY
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                                    NOTICE OF REMOVAL
                         UNDER 28 U.S.C. § 1332(a)(1), 1441, 1446
                                Case 2:19-cv-02186-R-JPR Document 1 Filed 03/22/19 Page 7 of 7 Page ID #:7


                            1                             PROOF OF SERVICE - 1013(a) C.C.P.

                            2    STATE OF CALIFORNIA, COUNTY OF ORANGE

                            3          I am employed in the County of Orange, State of California. I am over the
                                 age of 18 and not a party to the within action; my business address is Gates,
                            4    Gonter, Guy, Proudfoot & Muench, LLP, located at 38 Discovery, Suite 200, Irvine,
                                 CA 92618.
                            5
                                       On March 22, 2019, I served the foregoing document described as DEFENDANTS
                            6    FORD MOTOR COMPANY AND FUTUR FORD OF CONCORD, LLC’S NOTICE OF REMOVAL on the
                                 interested parties in this action as set forth on the attached service list in the
                            7    following manner:
                            8    (XXX)             BY MAIL. I am familiar with this firm's practice of collection
                                                   and processing correspondence for mailing with the United States
                            9                      Postal Service, and that the correspondence shall be deposited
                                                   with the United States Postal Service on the same day in the
                           10                      ordinary course of business pursuant to Code of Civil Procedure
                                                   §1013a. I am aware that on a motion of party served, service is
                           11                      presumed invalid if postal cancellation date or postage meter
                                                   date is more than one day after date of deposit for mailing
                           12                      affidavit.
                           13    (    )            BY FACSIMILE. In addition to service by mail as set forth above,
PROUDFOOT & MUENCH LLP




                                                   a copy of said document(s) was also delivered by facsimile
 38 DISCOVERY, SUITE 200
  GATES, GONTER, GUY,




                           14                      transmission to the addressee(s) pursuant to Code of Civil
    IRVINE, CA 92618
      (949) 753-0255




                                                   Procedure §1013(e).
                           15
                                 (        )        BY PERSONAL SERVICE. I caused a true copy of said document(s) to
                           16                      be hand-delivered to the addressee(s) via a California registered
                                                   process server pursuant to Code of Civil Procedure §1011.
                           17
                                 (        )        BY EXPRESS MAIL. I caused said document(s) to be deposited in a
                           18                      box or other facility regularly maintained by the express service
                                                   carrier providing overnight delivery pursuant to Code of Civil
                           19                      Procedure §1013(c).
                           20     (   )            BY ELECTRONIC MAIL. I caused said document(s) to be served
                                                   electronically to _______________________ pursuant to Civil
                           21
                                                   Procedure §1010.6(a)
                           22
                                       I declare under penalty of perjury under the laws of the State of California
                           23    that the foregoing is true and correct and that this declaration was executed on
                                 March 22, 2019, at Irvine, California.
                           24

                           25                                        ________________________________
                                                                     Jody Verne
                           26    ***********************************************************************************
                                                                     SERVICE LIST
                           27    ATTORNEY FOR PLAINTIFF
                                 Natan Davoodi, Esq.
                           28    The Law Offices of Natan Davoodi, Esq.
                                 3580 Wilshire Blvd., Suite 1260
                                 Los Angeles, CA 90010
                                 Tel: 310-889-4554
                                 Fax: 213-382-4083
                                                                          1

                                                                  PROOF OF SERVICE
